                                                   Case 8:20-cv-02398-JVS-DFM Document 81 Filed 03/02/22 Page 1 of 2 Page ID #:1475




                                                                 1
                                                                 2
                                                                 3
                                                                 4
                                                                 5
                                                                 6
                                                                 7
                                                                 8                          UNITED STATES DISTRICT COURT
                                                                 9               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                10
                                                                11 SECURITIES AND EXCHANGE                    Case No. SACV20-02398-
SMILEY WANG-EKVALL, LLP




                                                                   COMMISSION,                                JVS(DFMx)
                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12
                               Costa Mesa, California 92626




                                                                             Plaintiff,                       ORDER GRANTING FIRST
                                                                13                                            INTERIM APPLICATION FOR
                                                                       v.                                     APPROVAL OF FEES AND
                                                                14                                            COSTS OF:
                                                                   JUSTIN ROBERT KING; AND
                                                                15 ELEVATE INVESTMENTS LLC,                   (1) JEFFREY BRANDLIN AND
                                                                                                                  BRANDLIN & ASSOCIATES,
                                                                16                    Defendants,                 RECEIVER, AND
                                                                17 SHANNON LEIGH KING,                        (2) SMILEY WANG-EKVALL, LLP,
                                                                                                                  GENERAL COUNSEL TO THE
                                                                18                    Relief Defendant.           RECEIVER [78]
                                                                19                                            DATE:     March 7, 2022
                                                                                                              TIME:     1:30 p.m.
                                                                20                                            CTRM:     10C
                                                                                                              JUDGE:    James V. Selna
                                                                21
                                                                22           The Court having reviewed the First Interim Application for Approval of
                                                                23 Fees and Costs of (1) Jeffrey Brandlin and Brandlin & Associates, Receiver,
                                                                24 and (2) Smiley Wang-Ekvall, LLP, General Counsel to the Receiver for the
                                                                25 period of December 28, 2020, through October 31, 2021 (the "Application"),
                                                                26 and the evidence submitted in support of the Application and the Court
                                                                27 having found that the fees and costs sought are reasonable, and the Court
                                                                28 noting that there is no opposition,

                                                                     2899415.1
                                                                                                             1                                ORDER
                                                   Case 8:20-cv-02398-JVS-DFM Document 81 Filed 03/02/22 Page 2 of 2 Page ID #:1476




                                                                 1           IT IS ORDERED AS FOLLOWS:
                                                                 2           1.   The Application is approved;
                                                                 3           2.   Jeffrey Brandlin (the "Receiver") and Brandlin & Associates are
                                                                 4 allowed $70,837.50 in fees and $110.29 in expenses on an interim basis for
                                                                 5 the period of December 28, 2020, through October 31, 2021;
                                                                 6           2.   Smiley Wang-Ekvall, LLP, is allowed $45,179.00 in fees and
                                                                 7 $3,600.50 in expenses on an interim basis for the period of December 28,
                                                                 8 2020, through October 31, 2021; and
                                                                 9           3.   The Receiver is authorized to pay 80% of the allowed fees and
                                                                10 100% of the allowed expenses from available funds, with payment of the
                                                                11 amount held back to be sought at a later date.
SMILEY WANG-EKVALL, LLP

                          Tel 714 445-1000 • Fax 714 445-1002
                            3200 Park Center Drive, Suite 250




                                                                12           The March 7, 2022 hearing is vacated.
                               Costa Mesa, California 92626




                                                                13
                                                                14 DATED: March 02, 2022
                                                                15
                                                                16
                                                                                                         JAMES V. SELNA, United States District
                                                                17
                                                                                                         Judge
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                23
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                     2899415.1
                                                                                                            2                                ORDER
